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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                             WESTERN DIVISION
_________________________________

UNITED STATES OF AMERICA,                   5:20-CR-50122-02

                   Plaintiff,               UNITED STATES’ MEMORANDUM
                                            IN OPPOSITION TO DEFENDANT’S
      vs.                                   MOTION TO DISMISS AND FOR
                                            ALTERNATIVE RELIEF (DOC. 238)

KIMBERLEE PITAWANAKWAT,

                  Defendant.
_________________________________

      The United States of America, by and through Assistant United States

Attorney Heather Sazama, submits this memorandum in opposition to the

defendant’s Motion to Dismiss and for Alternative Relief, filed at Doc. 238. For the

reasons stated herein, the defendant’s motions to dismiss should be denied.

                                PROCEDURAL POSTURE

       Several of the issues raised in the defendant’s motion to dismiss have

already been addressed, through resolution of her motion to require the United

States to provide discovery directly to her (Docs. 39, 40, 41, 45), her motion for

bill of particulars (Docs. 118, 119, 123, 133), and her motion for severance (Docs.

147, 151, 152, 162). In addition, the defendant’s most recently filed motions to

compel discovery have been addressed and denied (Docs. 240, 241, 243, 247, 248,

249). The United States incorporates its briefing regarding the defendant’s

previously filed motions and discovery demands, and the court’s orders resolving

the same, without restating them here.
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   A. Defendant fails to state a legal basis to dismiss the Indictment.

      1. Dismissal of an Indictment cannot be predicated on factual
         disputes.

      The defendant’s motion to dismiss consists largely of factual disputes,

discovery complaints, complaints about the defendant’s former attorneys and the

judges assigned to her case, and assertions about witness credibility. The law is

clear, however, that factual disputes and issues associated with weighing

credibility are to be resolved by the ultimate finder of fact, not the Court. For this

Court to do so would usurp the role of the jury and violate the Federal Rules of

Criminal Procedure.

      Federal Rule of Criminal Procedure 12(b)(1) permits parties to “raise by

pretrial motion any defense, objection, or request that the court can determine

without a trial on the merits.” United States v. Turner, 842 F.3d 602, 604–05 (8th

Cir. 2016). As the Supreme Court has explained, Rule 12(b) authorizes pretrial

resolution of a motion to dismiss only when “trial of the facts surrounding the

commission of the alleged offense would be of no assistance in determining the

validity of the defense.” United States v. Covington, 395 U.S. 57, 60 (1969); see

also United States v. Turner, 842 F.3d 602, 605 (8th Cir. 2016). The district court

must rule on such a motion before trial unless there is “good cause to defer a

ruling” and deferral will not “adversely affect a party's right to appeal.” Fed. R.

Crim. P. 12(d).

      Under Rule 12, courts are not to make factual findings on issues that relate

to the jury's decision on the merits, the need for a more accurate record, or

concerns about judicial economy. United States v. Peneaux, No. 3:18-CR-30081-

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RAL, 2019 WL 2482943, at *2 (D.S.D. June 14, 2019) (citing United States v. Pope,

613 F.3d 1255, 1259 (10th Cir. 2010)). Rather, courts are to defer such matters

for trial. Thus, for instance, the Eighth Circuit found good cause to defer ruling

on the defendant’s motion to dismiss in Turner because the defendant’s as-applied

constitutional challenge required the court to resolve factual issues related to the

defendant’s alleged offense. 842 F.3d at 605 (holding that the district court should

have waited until trial to resolve the motion to dismiss the indictment).

      Here, the defendant’s motion is replete with factual allegations and

allegations about witness credibility, which are inappropriate for resolution before

trial. The motion to dismiss based on disputed facts should be denied without

prejudice to the defendant’s ability to make a Rule 29 motion at the close of

evidence during trial.

      2. Defendant has failed to show irregularities in the grand jury
         proceeding.

      To the extent the defendant’s allegation that the United States has failed

“to state an evidentiary basis for Count V,” can be construed as an error in the

grand jury proceedings, she has failed to meet her burden to prove irregularities

in the grand jury. On September 17, 2020, the United States presented facts

sufficient to support the grand jury’s finding of probable cause as to each of the

counts in the Indictment. See Doc. 1. “There is a strong presumption of regularity

in grand jury proceedings, and the defendant has a heavy burden in proving

irregularities.” United States v. Stewart, No. 5:19-CR-50167-07-KES, 2021 WL

2948547, at *2 (D.S.D. July 14, 2021) (slip copy) (quoting United States v. McKie,

831 F.2d 819, 821 (8th Cir. 1987) (internal citation omitted)). Generally, “a district

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court may not dismiss an indictment for errors in grand jury proceedings unless

such errors prejudiced the defendant[ ].” Bank of Nova Scotia v. United States, 487

U.S. 250, 254 (1988). Under this standard, “dismissal of the indictment is

appropriate only ‘if it is established that the violation substantially influenced the

grand jury's decision to indict,’ or if there is a ‘grave doubt’ that the decision to

indict was free from the substantial influence of such violations.” Id. at 256

(quoting United States v. Mechanik, 475 U.S. 66, 78 (1986) (O’Connor, J.,

concurring)).

      Even mistakes or misstatements in grand jury testimony do not justify

dismissal of an otherwise valid charge in an indictment. United States v. Moore,

184 F.3d 790, 794 (8th Cir. 1999). For an indictment to be dismissed on the basis

of misstatements or even perjurious testimony before the grand jury, the

defendant must show that the misstatements were material. Id. (emphasis added).

“As long as there is some other competent evidence to sustain the charge, the

charge should not be dismissed.” Id.

      To the extent the defendant’s motion to dismiss can be construed as one

attacking the grand jury proceedings that resulted in the Indictment, she has not

met her burden to show any such irregularities prejudiced her. The defendant’s

motion to dismiss Count V should be dismissed without prejudice to her ability

to make a Rule 29 motion at the close of evidence during trial.

      3. The General Crimes Act confers jurisdiction over Counts IV and V.

      The Major Crimes Act confers federal jurisdiction over certain enumerated

crimes, if the defendant is an Indian person as defined by federal law and the


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offense was committed in Indian country. 18 U.S.C. § 1153. Counts IV and V do

not allege a violation of any offense enumerated in the Major Crimes Act. Count

IV alleges a violation of 18 U.S.C. § 1001, False Statements. Count V alleges a

violation of 18 U.S.C. § 3, Accessory After the Fact. For purposes of prosecuting

the general laws of the United States, such as the alleged violations of 18 U.S.C.

§§ 1001 or 3, it matters not whether the defendant is an Indian person, or the

offense occurred within Indian country.

      The United States agrees it has no jurisdiction over this defendant for

offenses enumerated in the Major Crimes Act. As explained in the following

section, the United States has no evidence that the defendant is an Indian person.

      4. The defendant’s race is not an element of proof at trial.

      As noted above, the defendant is not charged with an offense enumerated

in the Major Crimes Act, 18 U.S.C. § 1153. The United States is compelled to

respond to the defendant’s claims that she has been the victim of racial

discrimination and prejudice, and that she has treaty rights available to her based

on her status as an Indigenous person. See Doc. 238, ¶¶ G, H, J. The defendant’s

criminal history, as documented by the National Crime Information Systems

(NCIC), and which has been repeatedly produced to the defendant during the

course of discovery in this case, appears to establish that she was born in Missouri

in 1980 as a Caucasian woman named Kimberlee Spring Etherton. The

investigation of this case has confirmed the defendant is neither enrolled nor

eligible for enrollment with the Oglala Sioux Tribe. The United States has no

indication that the defendant has some quantum of Indian blood. During her


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interview with Investigator Puckett on August 5, 2020, the defendant claimed to

be a member of the Confederated Tribes of Siletz, in Oregon. The investigation of

this case has been unable to verify that assertion, however. The United States has

no evidence the defendant is enrolled or eligible for enrollment in any federally

recognized Indian tribe. The United States has no information that the

government has provided the defendant with assistance reserved only for Indians

or that she enjoys the benefits of tribal affiliation. Although the defendant holds

herself out as an Indian, the United States has no information that she is an

Indian, as defined by federal law.

      Simply put, the United States has not alleged any offenses against the

defendant under the Major Crimes Act because, in part, the United States has no

evidence that the defendant is an Indian person for criminal jurisdictional

purposes. See, e.g., United States v. Driver, 755 F.Supp.885, 888 (D.S.D. 1991)

(citing St. Cloud v. United States, 702 F.Supp.1456 (D.S.D. 1988) (additional

citations omitted) (describing the two-part test adopted by the Eighth Circuit

Court of Appeals for determining whether a person is an Indian for criminal

jurisdictional purposes).

      5. Whether Criminal Investigator Derek Puckett was a federal agent is
         not an element of 18 U.S.C. § 1001.

      The defendant alleges the United States cannot prove a violation of 18

U.S.C. § 1001, as charged in Count IV, because OST DPS Criminal Investigator

Derek Puckett was not acting as a federal agent on August 5, 2020. Doc. 238,

¶12. To prove a violation of 18 U.S.C. § 1001, the United States is not required to

prove that Investigator Puckett was a “federal agent.” Rather, a violation of 18

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U.S.C. § 1001 requires the government to prove the defendant made any

materially false, fictitious, or fraudulent statement or representation in any matter

within the jurisdiction of the executive, legislative, or judicial branch of the

Government of the United States.

      The investigation of the shooting committed by George Dull Knife on August

5, 2020, was a criminal investigation involving violations of 18 U.S.C. §§ 113 and

1153, among other crimes. Both the Federal Bureau of Investigation and the

Oglala Sioux Tribe Department of Public Safety were investigating violations of

federal law. Thus, the investigation was a matter within the jurisdiction of the

executive branch of the United States.

      In any event, whether the government has proven all the essential elements

of a violation of 18 U.S.C. § 1001, including whether the investigation of the

shooting committed by George Dull Knife on August 5, 2020, was a matter within

the jurisdiction of the executive branch of the United States, is a factual

determination solely within the province of the jury. The defendant’s motion to

dismiss should be dismissed without prejudice to her ability to make a Rule 29

motion at the close of evidence during trial.

      6. Witness credibility is an issue for the jury’s consideration.

      Several of the defendant’s claims involve allegations of bias or credibility of

witnesses. The defendant’s codefendant, George Dull Knife, pleaded guilty to and

was sentenced for shooting Carmen Burgee on August 5, 2020, on his property,

on the Pine Ridge Reservation. See Docs. 153, 154, 161, 179, 185. Whether the

shooting occurred, and whether George Dull Knife committed it, is not subject to


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dispute. The credibility of witnesses who testify at the defendant’s trial, however,

is to be adjudged solely by the jury. See, e.g., United States v. Haggard, 509 F.

App'x 558, 559 (8th Cir. 2013); United States v. Wiest, 596 F.3d 906, 910 (8th Cir.

2010) (stating principle that “witness credibility is solely within the jury’s

province.”). This Court cannot weigh the credibility of witnesses. The defendant’s

motion to dismiss should be dismissed without prejudice to her ability to make a

Rule 29 motion at the close of evidence during trial.

   B. The defendant has failed to show grounds upon which the court should
      invoke its supervisory authority to dismiss an Indictment.

      A court may exercise its supervisory power in three situations: “[T]o

implement a remedy for violation of recognized rights; to preserve judicial integrity

by insuring that a conviction rests on appropriate considerations validly before

the jury; and finally, as a remedy designed to deter illegal conduct.” United States

v. Hasting, 461 U.S. 499, 505, 103 S.Ct. 1974, 76 L.Ed.2d 96 (1983) (citations

omitted). In order to invoke the court’s inherent supervisory authority to take the

drastic measure of dismissing an Indictment, the defendant must show prejudice

in the form of a violation of her constitutional rights or that the government has

engaged in misconduct. United States v. Elmardoudi, 611 F. Supp. 2d 872, 878

(N.D. Iowa 2007). The defendant has failed to make either showing.

      Invocation of the court’s supervisory powers to dismiss an Indictment is a

drastic measure, to be taken in only the most severe cases of misconduct by

governmental agents. See, e.g., United States v. Hemphill, 544 F.2d 341, 344-45

(8th Cir. 1976). The undersigned can find no reported case in which the Eighth

Circuit has affirmed a district court’s invocation of supervisory authority to

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dismiss an Indictment. Absent the showing required in Hasting, this Court should

not invoke its supervisory authority to dismiss the Indictment in this case.

                                  CONCLUSION

      Based on the foregoing, the United States requests the Court deny the

defendant’s Motion to Dismiss and for Alternative Relief, filed at Doc. 238.

      Dated this 7th day of August, 2023.

                                     ALISON J. RAMSDELL
                                     United States Attorney


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